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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

CONRAD SMITH,

              and

DANNY McELROY

              and                                    Civil Action No. 1:21-cv-02265-APM

BYRON EVANS

              and

GOVERNOR LATSON,

              and

MELISSA MARSHALL

              and

MICHAEL FORTUNE

              and

JASON DEROCHE

                         Plaintiffs,
         v.

DONALD J. TRUMP, “solely in his personal capacity”

              and

DONALD J. TRUMP FOR PRESIDENT, INC.
c/o Bradley T. Crate (Treasurer)

              and

STOP THE STEAL L.L.C.
c/o George B. Coleman

              and
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ALI ALEXANDER, a/k/a
Ali Abdul Razaq Akbar, a/k/a Ali Abdul Akbar

              and

BRANDON J. STRAKA

              and

ROGER J. STONE, JR.

              and

PROUD BOYS, an unincorporated association

              and

PROUD BOYS INTERNATIONAL, L.L.C.
c/o Jason L. Van Dyke

              and

ENRIQUE TARRIO

              and

ETHAN NORDEAN

              and

JOSEPH R. BIGGS

              and

ZACHARY REHL

              and

CHARLES DONOHOE

            and
DOMINIC J. PEZZOLA

              and

OATH KEEPERS



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c/o Christopher R. Grobl, Esq.

               and

STEWART RHODES
          and

THOMAS E. CALDWELL
           and

JESSICA WATKINS

               and

KELLY MEGGS

               and

ALAN HOSTETTER

               and

RUSSELL TAYLOR

               and

ERIK SCOTT WARNER

               and

FELIPE ANTONIO “TONY” MARTINEZ

               and

DEREK KINNISON

               and

RONALD MELE

               and

JOHN DOES 1-10,
                           Defendants.




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      DEFENDANT ZACHARY REHL’S COMBINED MEMORANDUM OF LAW
     IN SUPPORT OF ZACHARY REHLS’ MOTION TO STRIKE IMPERTINENT
                       MATTER UNDER RULE 12(f)

I.     INTRODUCTION AND CONTEXT

       Defendant Zachary Rehl respectfully submits this Memorandum of Law in support of his

Federal Rules of Civil Procedure Rule 12(f) Motion to Strike material from the Complaint.

       The Complaint explains that

                    1. The seven Plaintiffs in this case are United States Capitol Police
                    officers. Collectively, they have dedicated more than 150 years to
                    their shared mission to protect Congress so that it can carry out its
                    constitutional responsibilities safely and openly. * * * ”

       Those members of the U.S. Capitol Police who were injured during violent

confrontations with a few – very few – of the estimated 500,000 to 1 million people who came to

the District of Columbia on January 6, 2021, deserve to be compensated, to the extent the legal

system is capable of making them whole, for the injuries they sustained. This includes not only

these Plaintiffs but any of the U.S. Capitol Police who suffered injuries.

       ZACHARY REHL is the son and grandson of police officers.

       In July 2020, REHL participated in the Back the Blue rally in support of police officers,

at the Fraternal Order of Police lodge in Philadelphia.

       In the bail hearing for release of the Accused ZACHARY REHL, from pre-trial detention

hearing in the U.S. District Court for the Eastern District of Pennsylvania, the prosecution

conceded in proper candor:

                  To be sure, the indictment does not allege that Mr. Rehl
                  engaged directly in violence against officers or
                  destruction of property * * * .

Assistant U.S. Attorney Luke M. Jones, Esq., Page 3, Transcript of Detention/Rule 5 Hearing
Before Honorable Richard A. Lloret, United States v. Zachary Rehl, Case No. 2:21-mj-526-1,
United States Magistrate Judge, U.S. District Court for the Eastern District of Pennsylvania,
March 26, 2021, filed publicly as ECF Docket # 9 in that Court.


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       In parallel criminal cases, the U.S. Attorney’s office has not cited to any evidence that

ZACHARY REHL ever encountered or interacted with any U.S. Capitol Police officer or any

other law enforcement officer either on January 6, 2021, or in events leading up to the

demonstrations on January 6, 2021.

       However, these Plaintiffs are not suing those who actually injured them, at least not in

this suit, except as unknown John Does 1-10.

       One would logically anticipate that there is or will be a different, related lawsuit against

those who actually are responsible for injuring these officers. But this is not that. That

distinction must not be ignored or kept from view.

       In understanding these discussions, unfortunately, just as Kleenex ™ -- the brand name of

one specific company – has become generic and any tissue is called a Kleenex (improperly,

inaccurately, and falsely) – the name “Proud Boys” has been comically mis-used throughout the

political class and news media.

       The Chair of the Proud Boys dissociated the organization from those who as individuals

chose to attend events that day. Enrique Tarrio told Proud Boys members not to wear any

uniform, clothes or insignia (“colors”) associated with the Proud Boys. Tarrio clarified that

anyone going to D.C. was going on their own, not as Proud Boys.

       The attempt to portray Tarrio’s message – echoed by others – that Proud Boy members

should not wear their “colors” as something else are ridiculous and absurd. The idea that people

attending a public event are somehow obligated to announce themselves is offensive and

nonsensical. The idea that U.S. citizens attending a public First Amendment demonstration

would evade “detection” promotes the offensive idea that law enforcement criminalizes people

instead of crimes.



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II.      SUMMARY AND STATEMENT OF FACTS
         RELEVANT TO MOTION

         However, the U.S. Capitol Police issued not one but six (6) different permits for

demonstrations to be held on January 6, 2021, on the U.S. Capitol Grounds. Jason Leopold,

"The Capitol Police Granted Permits For Jan. 6 Protests Despite Signs That Organizers Weren’t

Who They Said They Were," Buzzfeed News, September 9, 2021, updated September 17, 2021,

https://www.buzzfeednews.com/article/jasonleopold/the-capitol-police-said-jan-6-unrest-on-

capitol-grounds?origin=web-hf. To the best of Defendant’s knowledge, these permits were

never revoked.

         Defendant does not minimize the injuries to law enforcement that day by some truly

violent and out-of-control hooligans, some of whom did apparently come to D.C. already with

that criminal intent. But it is undeniable that the vast majority of people came to D.C. expecting

to attend demonstrations or rallies which had received permits from the U.S. Capitol Police and

the U.S. Park Police, including at the Ellipse between the Washington Monument and the White

House.

         In fact, Zachary Rehl has created a fund-raising campaign on a fund-raising platform

similar to GoFundMe to raise funds for these Plaintiffs and other U.S. Capitol Police officers

injured on or around January 6, 2021. Anyone who reads or becomes aware of this pleading is

encouraged to donate at www.HealCapitolPolice.com. An independent Treasurer is being

recruited, which will be announced on the fund-raising page.

         Suing these Defendants cannot be justified as supplementing compensation because most

of these Defendants are in no different a financial situation than those who actually injured the

Plaintiffs. Unless Donald Trump or Rudolph Guiliani compensate the Plaintiffs, their recovery




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will not be any greater than from those who actually injured them. And while the direct physical

assault by those actually responsible probably cannot be discharged in bankruptcy, the tenuous,

gossamer threads of liability attempted here could be. The Plaintiffs are more likely to be fined

under Federal Rule of Civil Procedure Rule 11 than to add to their recovery in this suit.

        While one will sympathize with those actually injured and the propriety of them being

compensated for any injury, medical treatment, and pain and suffering, and it may seem

insensitive at first glance, this lawsuit is not that. This lawsuit is plainly filed for an improper

purpose to use these noble police officers as pawns in a partisan political power struggle to

advance other people’s agendas, goals, interests, and benefit. The lawsuit is almost entirely

about whether or not the 2020 Presidential election was stolen.

        This lawsuit is more about whether or not claims that the 2020 Presidential election were

stolen are true or false. And the lawsuit is about frivolously trying to radicalize this already-

controversial series of events with false and ugly claims of racial motivation. As if the events on

January 6, 2021, were not wrenching enough, they must be made worse by a false, groundless,

baseless assertion without any evidence that there is some racial component to those events with

regard to the election of Joe Biden with a sketchy past on segregation and race.

        The Proud Boys, of course, are led by a Black man who is an immigrant from Cuba.




                           Enrique Tarrio, Chair of the Proud Boys

        The Proud Boys Club publicly proclaims that 20% of its membership are Blacks or



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Hispanics. “I denounce White supremacy,” Mr. Tarrio said in a Thursday interview with

WSVN-TV in Miami. “I denounce anti-Semitism. I denounce racism. I denounce fascism. I

denounce communism and any other -ism that is prejudiced toward people because of their race,

religion, culture, tone of skin.” And “Mr. Reilly, author of “Hate Crime Hoax,” said his research

shows law enforcement officials estimate that 10% to 20% of Proud Boys members are racial

minorities.” See Valerie Richardson, "Enrique Tarrio says Proud Boys not White supremacists,"

The Washington Times, October 1, 2020, accessible at:

https://www.washingtontimes.com/news/2020/oct/1/enrique-tarrio-says-proud-boys-not-white-

supremaci/

          Whether or not one might believe that to be true, the fact is undeniable that the Proud

Boys want to present an image of inclusion, diversity, and welcoming of all races. Publicly

proclaiming themselves to be 20% minority and wanting to be seen as welcoming of all races

completely destroys the ugly slurs lying about them as racist.

          Plaintiffs’ counsel is the Lawyers’ Committee for Civil Rights Under Law, but apparently

they are not interested in the civil rights of Black men like Enrique Tarrio.

   III.      GOVERNING LAW AS TO MOTION TO STRIKE MATERIAL

          Pursuant to Federal Rules of Civil Procedure (“FRCP”) Rule 12(f), the Defendant moves

the Court to order the removal of references to the Klu Klux Klan and the incendiary attempts to

foment racial division to taint the jury pool in the District of Columbia, such as gratuitously,

irrelevantly, and unnecessarily including false allegations about the racial composition of a few,

but only a skewed select few, cities.

          FRCP Rule 12(f) provides that (using curious terminology):

                               ***
                 (f) MOTION TO STRIKE. The court may strike from a pleading an



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                  insufficient defense or any redundant, immaterial, impertinent, or
                  scandalous matter. The court may act:
                      (1) on its own; or
                      (2) on motion made by a party either before responding to
                      the pleading or, if a response is not allowed, within 21
                      days after being served with the pleading.
                                  ***

    IV.      ARGUMENT

          A) “The Klu Klux Klan Act” Does Not Exist – Plaintiff Falsely Claim
             Racism out of Despicable, Incendiary Race-Baiting to Taint the
             Jury Pool

          The Complaint purports to be a suit under the (Anti) Klu Klux Act of 1871.

          But the Klu Klux Klan Act does not exist.

          The Civil Rights Act of 1871 does exist.

          Plaintiffs are referring to Public Law (P.L.) 42-22 (April 20, 1871) -- Session 42, Chapter

22; 17 Stat. 13 formally named "An Act to enforce the Provisions of the Fourteenth

Amendment to the Constitution of the United States and for other Purposes.”

          According to the U.S. Supreme Court the official short name is “Civil Rights Act of

1871.”1 See, e.g., the reference in Monell v. Department of Social Services of City of New York,

436 U.S. 658, 664, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978). The “Civil Rights Act of 1871” was

shepherded through Congress and signed by Republican President Ulysses S. Grant, to carry out

the policies of Republican President Abraham Lincoln.

          The session law to which Plaintiffs are referring is now confided in 42 U.S.C. § 1985. (It

was previously codified under the “Revised Statutes.”) A cause of action should be brought

under 42 U.S.C. § 1985 as the most proper, useful, official, and legally valid way to state a cause

of action. This is important because the codified statutes incorporate in one place all of the

1
          Those seeking to inflame racial tensions pretend that 1964 was the first time a Civil Rights Act was passed,
ignoring the landmark Civil Rights Act of 1957 that Republican President Dwight D. Eisenhower championed and
ran for re-election on, and the Republican Civil Rights Act of 1960. Here, the suit is on the 1871 Civil Rights Act.


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accumulated changes to federal statutes enacted over the years. 2

        The other informal name of the Civil Rights Act of 1871 is “The Third Enforcement Act

of 1871” referring to the power under the Fourteenth Amendment of Congress to pass laws to

enforce the Fourteenth Amendment. There are occasional references to a Klu Klux Klan Act,

but that is not the name for the statutes.

        However, officially, there is no Klu Klux Klan Act of 1871, as shown in the official

session laws of the U.S. Congress. Strikingly, there is no mention of the Klu Klux Klan

anywhere in P.L. 42-22 – either in its name, short or long version, or in the actual text of the

session law itself. P.L. 42-22 has a name. The name has nothing to do with the KKK. Not using

the correct, official name of the statute is an effort to imply racism without evidence.

        Furthermore, the actual text of P.L. 42-22 has little to do with the Klu Klux Klan’s

despicable activities. Attempts fail at suggesting that the KKK was the evil being addressed by

the Act. The Act reads as being focused on the acts that initiated the Civil War, not on the KKK,

such as the rebellion of the Confederacy or the attack on Ft. Sumter. Historically, the KKK was

largely a covert instrument of government officials in the former Confederacy.3 The KKK

mostly terrorized private individuals but served government officials. Many members of the

KKK were themselves government officials by day, from police officers to mayors to military,
2
        In 1882, the U.S. Supreme Court ruled that the enforcement acts like P.L. 42-22 are
unconstitutional, in United States v. Harris, 106 U.S. 629 (1882) (“As, therefore, the section of the law
under consideration is directed exclusively against the action of private persons, without reference to the
laws of the states or their administration by the officers of the state, we are clear in the opinion that it is
not warranted by any clause in the Fourteenth Amendment to the Constitution.”). Thus, lawsuits like this
should be brought under the codified statutes of the United States Code, not under original session laws
which could undergo modification over the years.
3
        “The Ku Klux Klan was and is undeniably a terrorist organization—but what made the Klan an
especially insidious terrorist organization, and a threat to civil liberties, was that it functioned as the
unofficial paramilitary arm of Southern segregationist governments ... it will be remembered as an
instrument of cowardly Southern politicians who hid their faces behind hoods, and their ideology behind
an unconvincing facade of patriotism.” Tom Head, “Timeline History of the Klu Klux Klan,”
ThoughtCo. , updated December 14, 2020, accessible, at: https://www.thoughtco.com/the-ku-klux-klan-
history-721444. Saved and preserved on April 18, 2021.


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but wore masks or hoods by night to sustain their governmental positions.4

       Reconstruction stopped in 1877 when Democrats in Congress demanded the removal of

Federal authorities from the former Confederate states as a condition of resolving the disputed

presidential election of 1876. U.S. Government authority over former Confederate States was

curtailed in the chambers of the U.S. Congress. 5

       It was not KKK resistance to government, but wheeling and dealing in the cloakroom (or

similar locations) of the U.S. Congress, that brought Lincoln’s Reconstruction Era to an end, and

brought on Jim Crow laws and KKK terror as federal troops withdrew from the South,

discrimination, segregation, etc.

       Ironically, it was a disputed Electoral College vote tally in the 1876 presidential election

that ended Reconstruction. While the 1877 Compromise was ugly and reeks of vote-trading and

corruption, critics of these Defendants refuse to acknowledge that Congress’ role in counting

Electoral College votes has always included hearing and resolving disputes.

       Therefore, reading the substance of P.L. 42-22 also does not add any support to dragging

the Klu Klux Klan into this lawsuit, either.

       Why, then, do the Plaintiffs sue within the District of Columbia under a supposed “Klu

Klux Klan Act of 1871?” Why not state a cause of action properly under 42 U.S.C. § 1985?
4
         "In the 1920s, during what historians call the KKK’s “second wave,” Klan members served in all
levels of American government." Tara McAndrew, "The History of the KKK in American Politics,"
JSTOR, January 25, 2017, accessible at: https://daily.jstor.org/history-kkk-american-politics/
5
         “The Democrats agreed not to block Hayes’ victory on the condition that Republicans withdraw
         all federal troops from the South, thus consolidating Democratic control over the region. As a
         result of the so-called Compromise of 1877 (or Compromise of 1876), Florida, Louisiana and
         South Carolina became Democratic once again, effectively bringing an end to the Reconstruction
         era.”
                           ***
         “The Compromise of 1876 effectively ended the Reconstruction era. Southern Democrats’
         promises to protect civil and political rights of blacks were not kept, and the end of federal
         interference in southern affairs led to widespread disenfranchisement of blacks voters.”
"Compromise of 1877," History Channel, March 17, 2011, updated November 27, 2019, accessible at:
https://www.history.com/topics/us-presidents/compromise-of-1877


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       Rather than using the correct name of the law, Plaintiffs strain to try to inject race into a

racially neutral and color blind controversy.

       This entirely unnecessary, irrelevant (“impertinent” as the rules call it), and inappropriate

racial polarization is prejudicial under FRCP Rule 12(f) and a deliberate, knowing, intentional

effort to influence the jury pool. It is also a deliberate, knowing, intentional effort to use the

Court to defame the Defendants outside of Court. And it does public harm to society outside of

the Court to have activities in this Court – using the prestige of the federal judiciary – to promote

racial polarization and gratuitously inflame racial animosity which can cause actual, real harm.

       Apparently, those behind the lawsuit think that there is not enough strife, division,

wounds, and conflict in our society. They want to falsely and sanctionably claim a racial motive

merely to profit from the racial strife. If one makes a living treating Polio, what can they do

when Polio is all but eradicated? They’d have to close up shop. But trying to exploit race and

inflame society is as unacceptable as those who injured police officers.

       Defendant’s counsel (always) urges a logical test: Suppose we deleted from the

Complaint all references to race and the KKK: Would anything change in terms of the

legitimate legal aspects of the case?

       What would change is improper, extraneous, illegitimate insinuation and smears.

       But the actual legal issues in the case would be totally unaffected, if we removed all

references to race, the KKK, etc.

       This logical test tells us that references to race and the KKK are an abuse of the lawsuit

included for an improper purpose because they do not support or enlighten the lawsuit.

       The references are included TO INFLAME, NOT TO INFORM.

       The Complaint would inflame the jury pool to prejudice the Defendants and to abuse the




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judicial process to defame the Defendants in the public through the courts.

        Since 92.15% of the District of Columbia’s voters voted for the Democrat candidate for

President Joe Biden rather than for Donald Trump, see Exhibit A, attached, Plaintiffs’ ploy has

already inflamed potential jurors and will deny the Defendants a fair trial as required under the

Due Process requirements of the U.S. Constitution.

        B) Plaintiffs on Their Initiative Have Tainted the D.C. Jury Pool

        The publicity resulting from this lawsuit was not – as in the typical case – a result of

events preceding a case, but from the lawsuit itself. Here, the surge of publicity intentionally

seeking to smear Defendants as violating the “Klu Klux Klan Act” was entirely caused by the

original Plaintiff, and the public relations efforts of the original Plaintiff’s allies.

        Pre-trial publicity has falsely presented this lawsuit as claiming violations of the Klu

Klux Klan Act. Saturation news coverage reached the D.C. jury pool through The Washington

Post, 6 The Washington Times, 7 The Washington Examiner, national and D.C. television news

networks, and radio news such as WTOP and WMAL.

        C) References to Klu Klux Klan Are Irrelevant and Impertinent

        Why did the Plaintiffs characterize this lawsuit under the Civil Rights Act of 1871,

codified today at 42 U.S.C. 1985, as being filed under the “Klu Klux Klan Act of 1871?”

        Therefore, Plaintiffs side-swipe the Defendants with the Plaintiffs’ own racially-charged

allegations, not upon anything that the Defendants said or did having any racial motivation.

        Massive publicity followed the filing of this case, combining the Proud Boys and the

KKK typically in the same sentence. Why? See, index of Exhibit 62,200 Google search results

attached as Exhibit B.


6
        See Exhibit C, attached.
7
        See Exhibit D, attached.


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       D) Plaintiffs’ Allegations are Improper, Including as Rule 11 Violations

       Given that the Plaintiffs’ allegations also violate FRCP Rule 11, the effects upon the jury

pool are legally even more significant.

       Given that the Plaintiffs’ allegations also violate FRCP Rule 11, the propriety and

necessity is far greater of striking the “impertinent” and “scandalous” material (as FRCP Rule

12(f) oddly describes it – Defendant’s counsel would describe the material as false, unnecessary,

and unfairly prejudicial). Matter that violates FRCP Rule 11 especially should be stricken.

       Plaintiffs sue under a non-existent law transparently for the purpose of continuing to lie

about these Defendants and falsely accuse the Defendants of being White supremacists. This

allegation is without evidentiary support.

       Without the slightest shred of any evidence of any racial motivation, Plaintiffs allege that

attempts to ensure that the 2020 presidential election was conducted honestly, pursuant to Article

II, Section 1 of the U.S. Constitution, accurately, and transparently for the confidence of the

American people has some racial motive.

       There is no evidentiary basis for Plaintiffs alleging that preferring Trump over Biden for

President in November 2020 or wanting credible, accurate election results the public can trust

would have any racial aspect to it whatsoever. The attempt to inject race into events having no

racial component of any kind is a violation of FRCP Rule 11, once these defamatory lies from

the political world became converted into the Complaint filed here in federal court.

       Whether one candidate is better than another is of course, beyond all doubt, not of

interest to federal courts. But corrupting the judicial process with false and frivolous allegations

of racism is an improper purpose under FRCP Rule 11 and should be of concern.

       Therefore, the Plaintiffs’ attempts to turn racially-neutral issues into fomenting racial




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conflict violate FRCP Rule 11 by being filed for an improper purpose – to intentionally corrupt

the legal process by prejudicing the Defendants before the jury pool and trying the case in the

public news media. The allegations violate FRCP Rule 11 by not being warranted by existing

law. The allegations violate FRCP Rule 11 by lacking evidentiary support. The allegations

violate FCRP Rule 11 by sparking racial conflict outside the Court and using the Court to defame

the Defendants by mis-use of the Court.

        E) Reservation of All Rights Substantive and Procedural Beyond these Motions

        Defendant would not want the Court or the public to confuse the filing of these initial,

technical motions with any lack of strong disagreement with the Complaint.

        Defendant Zachary Rehl files these initial, technical motions because they must be filed

and heard first under the FRCP and governing precedents, not because Defendant is lacking in

any determination to fully defend his rights and the truth against Plaintiffs’ Complaint.

        Defendant fully reserves his objections, denies the allegations of the Complaint, and

denies any and all liability under the Complaint’s claims. The Complaint is intended to be

defamatory outside of the courthouse and an abuse, continuing to spread false narratives about

the Defendant and honorable U.S. citizens and patriots through the courts.

        Therefore, at the proper time, after this Court decides on his motion to transfer venue and

decides on ordering the Plaintiffs to restate their allegations and claims, Defendant intends to

fully respond to the Complaint in all respects and in all procedural methods, including a motion

to dismiss under D.C.’s ANTI-SLAPP Act, motion to dismiss under Federal Rules of Civil

Procedure 12(b)(6), and if necessary an Answer to the Complaint.

   V.      CONCLUSION

        The Court should order that the Complaint be redrafted to remove mentions of a Klu




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Klux Klan Act, the Klu Klux Klan, White supremacists, racism, racial motives, or other material

that FRCP Rule 12(f) calls in colorful language impertinent or scandalous.

Dated: October 5, 2021               RESPECTFULLY SUBMITTED
                                     ZACHARY REHL, By Counsel




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                                     Virginia State Bar No. 41058
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                                CERTIFICATE OF SERVICE

         I hereby certify that on October 5, 2021, I electronically filed the foregoing document
with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic
filing to the following CM/ECF participant(s). From my review of the PACER / ECF docket
records for this case that the following attorneys will receive notice through the ECF system of
the U.S. District Court for the District of Columbia. A copy will also be sent by email.

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            Although undersigned counsel should not presume
            to decide for other co-Defendants who their legal
            counsel should be or will be, outside of this filing
            counsel will email a copy of this pleading to counsel
            for other named Defendants if they can be determined.




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